                                          April 16, 2025


MEMORANDUM FOR:               Green and Resilient Retrofit Program Awardees
                                                                              Digitally signed by: Thomas R. Davis
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FROM:                         Thomas R. Davis, Director, Office of Recapitalization

CC:                           Office of Recapitalization Investments Division

SUBJECT:                      Preliminary Injunction Order regarding Disbursements
                              for GRRP Awards


       The purpose of this memorandum is to inform you that, on April 15, 2025, the U.S.

District Court for the District of Rhode Island entered a preliminary injunction order in

Woonasquatucket River Watershed Council, et al. v. USDA, et al., No. 1:25-cv-00097 (D.R.I.),

regarding disbursements under the Inflation Reduction Act (“IRA”) for the Green and Resilient

Retrofit Program (“GRRP”). We are providing you with this notification consistent with the

Court’s order, which is attached to this communication.

       Please contact GRRP@HUD.gov with any questions.



Attachment




                                  www.hud.gov       espanol.hud.gov
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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

                                          )
 WOONASQUATUCKET RIVER                    )
 WATERSHED COUNCIL;                       )
                                          )
 EASTERN RHODE ISLAND                     )
 CONSERVATION DISTRICT;                   )
                                          )
 CHILDHOOD LEAD ACTION                    )
 PROJECT;                                 )
                                          )
 CODMAN SQUARE                            )
 NEIGHBORHOOD DEVELOPMENT                 )
 CORPORATION;                             )
                                          )
 GREEN INFRASTRUCTURE                     )
 CENTER; and                              )
                                          )
 NATIONAL COUNCIL OF                      )
 NONPROFITS,                              )
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )    C.A. No. 1:25-cv-00097-MSM-PAS
                                          )
 U.S. DEPARTMENT OF                       )
 AGRICULTURE;                             )
                                          )
 BROOKE ROLLINS, in her official          )
 capacity as Secretary of Agriculture;    )
                                          )
 U.S. DEPARTMENT OF ENERGY;               )
                                          )
 CHRIS WRIGHT, in his official            )
 capacity as Secretary of Energy;         )
                                          )
 U.S. DEPARTMENT OF THE                   )
 INTERIOR;                                )
                                          )
 DOUG BURGUM, in his official             )
 capacity as Secretary of the Interior;   )
                                          )
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 U.S. ENVIRONMENTAL                        )
 PROTECTION AGENCY;                        )
                                           )
 LEE ZELDIN, in his official capacity      )
 as Administrator of the Environmental     )
 Protection Agency;                        )
                                           )
 U.S. DEPARTMENT OF HOUSING                )
 AND URBAN DEVELOPMENT;                    )
                                           )
 SCOTT TURNER, in his official             )
 capacity as Secretary of Housing and      )
 Urban Development;                        )
                                           )
 U.S. OFFICE OF MANAGEMENT                 )
 AND BUDGET;                               )
                                           )
 RUSSELL VOUGHT, in his official           )
 capacity as Director of the Office of     )
 Management and Budget; and                )
                                           )
 KEVIN HASSETT, in his official            )
 capacity as Director of the National      )
 Economic Council,                         )
                                           )
       Defendants.                         )
                                           )


                            MEMORANDUM AND ORDER

 Mary S. McElroy, United States District Judge.

       This is an administrative law case. In 2021 and 2022, Congress passed and

 the President signed two laws—the Infrastructure Investment and Jobs Act and the

 Inflation Reduction Act, respectively—appropriating billions of dollars for

 infrastructure, agriculture, energy, climate, and housing initiatives.      The laws

 established that federal agencies would largely be responsible for administering these




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 funds.     Since then, the agencies did just that through awards of grants and

 contracts—seemingly without much issue.

          That swiftly changed in January 2025. An executive order and a memorandum

 from the Office of Management and Budget temporarily forbade agencies from

 administering any more IIJA and IRA money, at least while the agencies reviewed

 spending to ensure its consistency with presidential policy directives. So the agencies

 stopped providing money to the organizations spearheading these congressionally-

 supported initiatives, even when those same agencies had already awarded it.

          It quickly became clear that these actions were part of a much larger effort

 that extended beyond IIJA and IRA funding—an effort now colloquially known as the

 federal “funding freeze.” Next came a whirlwind of litigation. States and private

 organizations alike have sued a host of agencies to stop different parts of the freeze.

 So far, they have largely been successful in obtaining interim relief. But as the need

 for this suit shows, that relief has been piecemeal and often limited in scope.

          Still unable to access their funds following other court orders, six nonprofits

 sued several federal agencies and their heads under the Administrative Procedure

 Act (“APA”). The Nonprofits bring three APA claims against the Government.1 In




 1 For ease of reading, the Court uses the term “the Government” to describe the

 Defendants collectively. The “Agency Defendants” or “Agencies” in turn, refers to
 Energy, EPA, HUD, Interior, and USDA. That is not to say, of course, that OMB and
 the NEC Director are not agencies under the APA; as explained below, quite the
 contrary. Instead, the collective term “Agency Defendants” is meant to encompass
 the group of actors directly charged with administering IIJA and IRA funds. When
 necessary, the Court names Defendants with specificity. Finally, the Court refers to
 the Plaintiffs collectively as “the Nonprofits.”

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 short, the Nonprofits argue that the Government—in summarily freezing billions of

 dollars in IIJA and IRA funding—ran afoul of three APA provisions: its requirement

 that agency actions (1) are not “arbitrary and capricious,” (2) are not “in excess” of

 the authority that Congress granted the agencies, and (3) are not otherwise contrary

 to law. The Nonprofits now move for a preliminary injunction—a temporary court

 order requiring the agencies to turn the funding spigots back on, at least while their

 case is pending. (ECF No. 26.)

       The Nonprofits’ Motion is GRANTED. To summarize: the Court first sees no

 threshold jurisdictional issues. The Nonprofits have demonstrated standing against

 all seven defendants and the doctrine of claim-splitting does not narrow their case.

 See Part III.A. Next, the Court is confident that it has jurisdiction under the APA.

 Most importantly, the seven agency actions here are “final,” allowing APA review,

 and the Nonprofits’ claims are not simple contract actions for money damages, such

 that the Tucker Act would divest the Court of jurisdiction. See Part III.B.1.

       Looking to the merits, the Court holds that the Nonprofits have demonstrated

 a strong likelihood of success on two of their three APA claims. First, they have

 adequately shown at least three ways that the sudden, indefinite freeze of all already-

 awarded IIJA and IRA money was arbitrary and capricious: it was neither reasonable

 nor reasonably explained, and it also failed to account for any reliance interests. See

 Part III.B.2. Second, the broad powers that OMB, the NEC Director, and the five

 Agencies assert are nowhere to be found in federal law. The Agencies likely possess

 narrower powers related to individualized funding pauses and terminations, but in




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 cases of vast economic and political significance—like this one—the Supreme Court

 has urged lower courts to be skeptical of agencies’ sweeping claims of power. That is

 to say: those narrower powers cannot justify the broad exercise of authority that

 OMB, the NEC Director, and the Agencies asserted here. See Part III.B.3. Holding

 that these two claims are likely to be successful, the Court declines to address the

 third at this point. See Part III.B.4.

       The Court further holds that the Nonprofits have adequately demonstrated

 irreparable harm in several forms, see Part III.C, and that the balance of the equities

 and the public interest weigh heavily in their favor. See Part III.D. And because of

 these claims’ unique nature, the broad powers that the Government asserts, and the

 harms inflicted on the Nonprofits and similarly situated nonparties, the Court holds

 that a nationwide injunction is appropriate. See Part III.F.

       The Court wants to be crystal clear: elections have consequences and the

 President is entitled to enact his agenda. The judiciary does not and cannot decide

 whether his policies are sound. In other words, “the wisdom” of his decisions “is none

 of our concern.” Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S.

 1, 35 (2020) (cleaned up). But where the federal courts are constitutionally required

 to weigh in—meaning we, by law, have no choice but to do so—are cases “about the

 procedure” (or lack thereof) that the Government follows in trying to enact those

 policies. Id. Agencies do not have unlimited authority to further a President’s

 agenda, nor do they have unfettered power to hamstring in perpetuity two statutes




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 passed by Congress during the previous administration. Chief Justice Roberts put it

 best:

         Justice Holmes famously wrote that “men must turn square corners when they
         deal with the Government.” But it is also true, particularly when so much is
         at stake, that the Government should turn square corners in dealing with the
         people.

 Id. at 24 (cleaned up). Here, the Government failed to do so.

                                 I.    BACKGROUND

         The Court begins with a preliminary statement of facts.

         A.    The Infrastructure Investment and Jobs Act and the Inflation Reduction
               Act

         At the heart of this case are two laws passed by both chambers of Congress and

 signed by the President.     See U.S. Const., art. I, § 7, cl. 2–3. The first is the

 Infrastructure Investment and Jobs Act, Pub. L. No. 117-58, 135 Stat. 429, passed in

 2021. (ECF No. 21 ¶ 25.) The IIJA appropriated huge sums of money for an array of

 initiatives; since its passage, it has funded a “wide variety of critical projects and

 initiatives that are administered by different agencies.” Id. ¶ 25. For instance, the

 Environmental Protection Agency (“EPA”) has already awarded nearly $69 billion in

 IIJA funds “to create jobs, lower energy costs, save families money, support clean

 energy manufacturing, and help communities burdened by pollution.” Id. ¶ 26. And

 the Department of Interior has doled out IIJA funds to “close open mine portals

 (protecting homes from landslides), clean up orphaned oil and gas wells, and support

 the federal wildland firefighting workforce.” Id.

         The second law is the Inflation Reduction Act, Pub. L. No. 117-169, 136 Stat.

 1818, passed in 2022. Like the IIJA, the IRA authorized and appropriated “billions


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 of dollars in funding for grants, loans, and other forms of federal financial assistance

 in order to advance these goals.” Id. ¶ 23. And like the IIJA, its programs “are

 administered by various agencies.”        Id. ¶ 24.     The Department of Agriculture

 (“USDA”), for instance, handles billions of IRA dollars. Id. That includes nearly $20

 billion for the Natural Resources Conservation Service to “help farmers, ranchers,

 and other landowners protect natural resources and enhance production, and $13.2

 billion to build electrification infrastructure.” Id.

        B.     Agencies’ administration of IIJA and IRA funds

        Following the IIJA and the IRA’s respective enactments, agencies began

 working with states and private organizations to execute the statutes’ goals.

        Take the Childhood Lead Action Project (“CLAP”). (ECF No. 26-7.) It is an

 award-winning nonprofit that works with state and local officials to eliminate

 childhood lead poisoning in Rhode Island. Id. ¶ 1, 6. EPA awarded CLAP a $500,000

 grant of IRA money “to fund a multi-pronged, multi-year campaign to address lead

 poisoning in Providence.” Id. ¶ 7. It began drawing down funds from this grant in

 December 2024 and January 2025. Id. ¶ 11.

        Or consider the Green Infrastructure Center (“GIC”), a conservation-focused

 nonprofit. (ECF No. 26-4.) In 2023 and 2024, GIC received several multi-year grants

 through the IRA. Id. ¶ 9. More specifically, the IRA provided $1.5 billion in funding

 for the Urban and Community Forestry Program, run by the U.S. Forest Service, and

 the GIC—as a subgrantee of several states—uses IRA grant funds “to help towns and

 localities plan and carry out plans for planting more trees and managing the forests

 that they have.” Id. ¶ 8–11.


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       Similarly, the Codman Square Neighborhood Development Corporation

 (“CSNDC”) applied for a grant through the Green and Resilient Retrofit Program,

 run by the Department of Housing and Urban Development (“HUD”). (ECF No. 26-

 3 ¶ 6.) CSNDC is a nonprofit community development corporation that focuses on

 housing initiatives. Id. ¶ 2. And the Green and Resilient Retrofit Program “is meant

 to support investments in energy efficiency, greenhouse gas reductions, and healthy

 housing” in HUD-run housing. Id. ¶ 6. The IRA provides the money for it, and

 CSNDC sought the grant “to help fund a rehab and renovation project on a 31-unit

 affordable housing development for elderly residents here in Dorchester.” Id. ¶ 7.

 Last November, HUD awarded CSNDC a $750,000 grant, and it soon received the

 award letter. Id. ¶ 9.

       These are only three examples of the numerous organizations whose missions

 and projects depend on congressional funding—as well as effective agency

 administration of that funding.   The record shows that agencies were generally

 effective in administering these funds for several years following the IIJA and the

 IRA’s passages. See, e.g., ECF No. 26-5 ¶¶ 9–12; ECF No. 26-3 ¶ 9; ECF No. 26-4 ¶ 6;

 ECF No. 26-6 ¶¶ 6, 14; ECF No. 26-7 ¶ 6; ECF No. 26-9 ¶ 4.

       C.     The Unleashing American Energy executive order

       That all changed on January 20, 2025, when the President issued an executive

 order titled Unleashing American Energy, Exec. Order No. 14,154, 90 Fed. Reg. 8343

 (Jan. 20, 2025) (the “Unleashing EO”).

       The order provided that all “agencies shall immediately pause the

 disbursement of funds appropriated through the Inflation Reduction Act of 2022


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 (Public Law 117-169) or the Infrastructure Investment and Jobs Act (Public Law 117-

 58).” Id. § 7(a). While the funds were paused, the Unleashing EO required the

 agencies to “review their processes, policies, and program for issuing grants, loans,

 contracts, or any other financial disbursement of such appropriated funds for

 consistency with the law and the policy outlined in section 2 of this order.”2 Id.

       And “within 90 days,” all agency heads must “submit a report to the Director

 of the NEC and Director of OMB “detailing their findings.” Id. Going forward, “no

 funds identified in this subsection” could “be disbursed by a given agency until the

 Director of OMB and Assistant to the President for Economic Policy have determined

 that such disbursements are consistent with any review recommendations they have

 chosen to adopt.” Id.

       D.     Memorandum M-25-11

       The next day, Matthew J. Vaeth, Acting Director of the Office of Management

 and Budget (“OMB”), and Kevin Hassett, Assistant to the President for Economic

 Policy and Director of the National Economic Council (“NEC”), issued a memorandum

 to the heads of departments and agencies titled, “Guidance Regarding Section 7 of

 the Executive Order Unleashing American Energy” (“Unleashing Guidance”),

 numbered M-25-11. (ECF No. 21-1.)




 2 Section 2, in turn, describes nine policy goals, including encouraging “energy
 exploration and production on Federal lands and waters … in order to meet the needs
 of our citizens and solidify the United States as a global energy leader long into the
 future” and protecting the country’s “economic and national security and military
 preparedness by ensuring that an abundant supply of reliable energy is readily
 accessible in every State and territory of the nation.” § 2(a), (c).

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        It explained that the Unleashing EO “requires agencies to immediately pause

  disbursement of funds appropriated under” the IRA and the IIJA, but that the pause

  “only applies to funds supporting programs, projects, or activities that may be

  implicated by the policy established in Section 2 of the order.”            Id.   “This

  interpretation” of the Unleashing EO, it explained, “is consistent with section 7’s

  heading (‘Terminating the Green New Deal’) and its reference to the ‘law and the

  policy outlined in section 2 of th[e] order.’” Id. So, “for the purposes of implementing

  section 7 of the Order, funds supporting the ‘Green New Deal’ refer to any

  appropriations for objectives that contravene the policies established in section 2,”

  but “agency heads may disburse funds as they deem necessary after consulting with

  the Office of Management and Budget.” Id. (cleaned up).

        E.     The “freeze”

        After that, agencies broadly paused funding. For instance, on January 27, EPA

  issued a memo explaining that “all disbursements for unliquidated obligations funded

  by any line of accounting including funds appropriated by the [IIJA and the IRA] are

  paused” and that, in accordance with the Unleashing EO, “unobligated funds

  (including unobligated comments) appropriated by the [IRA and IIJA] are paused.”

  (ECF No. 21-2 at 2). “All related actions” were paused, too. Id. EPA grant recipients

  soon received notice of the same. (ECF No. 21-3.) And similar freezes occurred at the

  other Agencies. See, e.g., ECF No. 21-7 (Interior); ECF No. 21-8 (USDA); ECF No. 21-

  9 (Energy); ECF No. 21 ¶ 24 n.3 (article describing HUD’s funding freeze).




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        What did this about-face look like for the Government’s partners on the

  ground? The record suggests a combination of confusion and silence. Organizations

  soon started to notice that their funding became inaccessible. CSNDC said that

  “HUD stopped communicating with us after the change in administration.” (ECF

  No. 26-3 ¶ 10.) Weeks later, HUD told CSNDC that it was not able “to approve

  closings or disbursements at that time,” blaming it “on an executive order called

  Unleashing American Energy.” Id. Another nonprofit, the Woonasquatucket River

  Watershed Council (“WRWC”), had a grant of $1 million frozen. (ECF No. 26-4 ¶ 7.)

  It learned from the U.S. Forest Service that “the money was inaccessible because it

  was funded under the Inflation Reduction Act.” Id.

        Since the freeze, another organization has had “intermittent trouble accessing

  federal funding” thorough their already-awarded grants from several agencies. (ECF

  No. 26-6 ¶ 9.) In early February, they suddenly “became unable to access the ‘ASAP’

  portal, which is an online system that the federal government uses for disbursing

  funds on grants.” Id. ¶ 10. The result? They “couldn’t make any draw downs of three

  grants.” Id. CLAP—the lead nonprofit—faced similar issues. (ECF No. 26-7 ¶ 12.)

  It explained that sometimes, it was “blocked entirely” from accessing ASAP; other

  times, it “could log into the portal, but our grant was missing.” Id. The portal tottered

  between functioning and not, but the point is that CLAP’s grant was “missing” and

  “EPA [had] not explained why.” (ECF No. 26-7 ¶ 15.)




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        F.       This case

        Enter WRWC and its co-plaintiffs: the Eastern Rhode Island Conservation

  District, CLAP, CSDNC, GIC, and the National Council of Nonprofits (“NCN”). They

  allege that the funding freeze orders issued by OMB and Director Hassett and the

  Agencies’ actions in furtherance of the orders violated the APA. In particular, the

  Nonprofits have sued:

             •     the U.S. Department of Agriculture and its Secretary, Brooke Rollins;

             •     the U.S. Department of Energy and its Secretary, Chris Wright;

             •     the U.S. Department of the Interior and its Secretary, Doug Burgum;

             •     the U.S. Environmental Protection Agency and its Secretary, Lee
                   Zeldin;

             •     the U.S. Department of Housing and Urban Development and its
                   Secretary, Scott Turner;

             •     the U.S. Office of Management and Budget and its Director, Russell
                   Vought; and

             •     the Director of the National Economic Council, Kevin Hassett.

  On March 17, the Nonprofits moved for a preliminary injunction. (ECF No. 26.)

  Following a shortened briefing schedule, the Court held a hearing on their motion on

  April 3, 2025.

                                     II.    STANDARD

        “A request for a preliminary injunction is a request for extraordinary relief.”

  Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary

  injunction, a plaintiff must show: (1) a substantial likelihood of success on the merits,

  (2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable



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  balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

  public interest.” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (cleaned

  up). Here, the last two factors merge because the Government is the opposing party.

  Nken v. Holder, 556 U.S. 418, 435 (2009).

        “The first two factors” here “are the most critical.” Id. at 434. “To demonstrate

  likelihood of success on the merits, plaintiffs must show more than mere possibility

  of success—rather, they must establish a strong likelihood that they will ultimately

  prevail.” Sindicato Puertorriqueño de Trabajadores, SEIU Loc. 1996 v. Fortuño, 699

  F.3d 1, 10 (1st Cir. 2012) (per curiam) (cleaned up). In evaluating whether the

  Nonprofits have shown a likelihood of success on the merits, the Court must keep in

  mind that the merits need not be “conclusively determine[d]”; instead, at this stage,

  decisions “are to be understood as statements of probable outcomes only.” Akebia

  Therapeutics, Inc. v. Azar, 976 F.3d 86, 93 (1st Cir. 2020) (cleaned up).

                                   III.   DISCUSSION

        A.      Jurisdiction

        To start, the Government makes two jurisdictional arguments trying to narrow

  the case’s scope. The first is about standing while the second concerns claim splitting.

  Before addressing the preliminary injunction factors, the Court considers these

  arguments.

               1.     Defendant-specific standing

        The Government first argues that the Nonprofits have not shown any injuries

  attributable to Energy, OMB, or the NEC Director. (ECF No. 31 at 15.) Of course,




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  the Nonprofits “bear the burden of demonstrating that they have standing” and must

  do so “with the manner and degree of evidence required at the successive stages of

  the litigation.” TransUnion LLC v. Ramirez, 594 U.S. 413, 430–31 (2021) (cleaned

  up). And they “must demonstrate standing for each claim that they press and for

  each form of relief that they seek.” Id. at 431. “To establish standing,” they “must

  show an injury in fact caused by the defendant and redressable by a court order.”

  United States v. Texas, No. 22-58, 599 U.S. 670, 676 (2023). The upshot of the

  Government’s standing argument is that any relief should be directed “only against

  USDA, Interior, EPA, and HUD—and not the three other Agency Defendants for

  which Plaintiffs have failed to prove any ongoing injuries.”3 (ECF No. 31 at 17.) The

  Court addresses the standing arguments individually.

                      a.    Energy

         As for Energy, the Government contends first that, as a matter of fact, “there

  is no ongoing pause of funding for the Weatherization Assistance Program since at

  least February 2025.” (ECF No. 31 at 15.) And in any event, the alleged harm is to

  “a subrecipient (not a direct grantee) of DOE funding,” so the entity “should contact

  the direct grantee to raise any concerns about any alleged improper pause of funding.”

  Id. at 16.




  3 Aside from the same subgrantee issue raised against Energy, the Government does

  not contest that the Nonprofits have standing for claims against EPA, HUD, Interior,
  and USDA. (ECF No. 38 at 50–51.) Upon an independent review of the record, the
  Court is satisfied that the Nonprofits have standing as to those four agencies and
  their heads, at least for purposes of resolving this motion.

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        The Nonprofits respond that Energy has “continued to block access to IRA and

  IIJA funding even after February 24, when its claims to have resumed processing

  payments.” (ECF No. 32 at 17.) Further, the Government’s subgrantee argument is

  a red herring, the Nonprofits say, because the record shows that “there is no concern

  that the direct grantee (the state in which the declarant’s organization is located) is

  failing to pass funds on to the subgrantee.” (ECF No. 32 at 16 n.5.) In other words,

  the blame still lies at Energy’s feet.

        At this stage, the Nonprofits have adequately shown an injury-in-fact against

  Energy. To start, the declarant in the Nonprofits’ Exhibit T, an executive director of

  a nonprofit member of NCN, reported on March 11 that their IIJA funding had been

  frozen since January 30 and that they “have not received any communications about

  the cause of this freeze or if or when it will end.” (ECF No. 26-11 ¶ 12.) For now, that

  is enough to show that an injury caused by Energy existed at the time the Nonprofits

  filed their Complaint.

        True, the Government has provided conflicting testimony: a signed declaration

  from an Energy official stating that, “since February 24, 2025, for obligations with

  ongoing work, DOE is proceeding with payments in the normal course.” (ECF No. 31-

  2 ¶ 5.) That contrary evidence, though, does not bear on the standing analysis. Under

  the Government’s theory, if simply offering contrary evidence always defeated

  standing, then few cases would ever get very far.

        And the declarant’s status as a subgrantee is not fatal to standing against

  Energy. To start, nothing in the testimony suggests that the state “is failing to pass




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  funds on,” as the Government suggests. See, e.g., ECF No. 32-3 ¶¶ 5–6. And at

  argument, the Government cast this subgrantee argument as a “sort of zone of

  interest or rights to enforce” argument. (ECF No. 38 at 51–52.) The APA authorizes

  suit to challenge a federal agency by any “person” who was “adversely affected or

  aggrieved ... within the meaning of a relevant statute.” 5 U.S.C. § 702. The Supreme

  Court has explained:

          We have held that this language establishes a regime under which a plaintiff
          may not sue unless he falls within the “zone of interests” sought to be protected
          by the statutory provision whose violation forms the legal basis for his
          complaint. We have described the “zone of interests” test as denying a right of
          review if the plaintiff’s interests are so marginally related to or inconsistent
          with the purposes implicit in the statute that it cannot reasonably be assumed
          that Congress intended to permit the suit.

  Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 177–78 (2011) (cleaned up).

  Because, as explained below, the Government’s actions implicate a breadth of

  statutory schemes and regulations, the exact statutory analysis is difficult to pin

  down.    But that is a problem of the Government’s making, and the Nonprofits’

  interests in their already-awarded funds being frozen by the Agencies, even as

  subgrantees, at the behest of OMB and the NEC Director, are not “so marginally

  related to or inconsistent with the purposes implicit” in all the statutory schemes

  implicated here as to defeat standing. Id. After all, the Nonprofits’ already-awarded

  funds are themselves “the subject of the contested regulatory action.” Clarke v. Sec.

  Indus. Ass’n, 479 U.S. 388, 399 (1987).

          Nor does the fact that some funding under Energy’s purview has been

  temporarily unfrozen, see ECF No. 32-3 ¶¶ 4–7, moot the Nonprofits’ case against

  Energy. A case only becomes moot, the First Circuit has explained, if “the defendant


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  meets the heavy burden of showing that it is absolutely clear that the allegedly

  wrongful behavior could not reasonably be expected to recur.” Brown v. Colegio de

  Abogados de Puerto Rico, 613 F.3d 44, 49 (1st Cir. 2010) (cleaned up). Put differently,

  “to show that a case is truly moot, a defendant must prove no reasonable expectation

  remains that it will return to its old ways.” Fed. Bureau of Investigation v. Fikre,

  601 U.S. 234, 241 (2024) (cleaned up). “That much holds for governmental defendants

  no less than for private ones.” Id. The Government has failed to make that showing.

        All that is to say: the Nonprofits have adequately demonstrated standing

  against Energy.

                      b.     OMB

        As for OMB, the Government argues that the Nonprofits’ declarations “fail to

  identify any injury attributable specifically to OMB’s actions,” so they “have not

  proven any injuries specifically attributable to OMB itself.” (ECF No. 31 at 16.) The

  Nonprofits reply that OMB was “responsible for issuing OMB Memo M-25-11,” which

  “directed executive agencies to freeze certain IRA and IIJA funding,” and since then,

  “other agencies relied on it in withholding funds.” (ECF No. 32 at 17–18.)

        An injury-in-fact must be “fairly traceable to the challenged conduct of the

  defendant.” Conservation L. Found., Inc. v. Acad. Express, LLC, 129 F.4th 78, 90 (1st

  Cir. 2025). So there must be a “causal connection between the injury and the conduct

  complained of,” but the standard “does not require a tort-like showing of proximate

  causation.” Id. (internal quotations omitted). And a plaintiff “can satisfy traceability




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  by showing that the defendant’s conduct is one among multiple causes of the alleged

  injury.” Id. (cleaned up).

        The Nonprofits’ injuries arising from the freeze are clearly traceable to OMB’s

  issuance of M-25-11 and the memorandum’s influence over the Agency Defendants.

  There are at least two reasons why. First is the Agencies’ actual, cited reliance on M-

  25-11 as the reason for the pause. One internal memo from EPA ordering the pause

  stated that it was “being provided based on instruction from OMB.” (ECF No. 21-2

  at 2.) Another message from Interior to a grantee who was trying (and failing) to

  access their funding cited Memo M-25-11 “regarding the funding pause.” ECF No. 21-

  7 at 2; see also ECF No. 26-9 ¶ 13 (“I understand from our government partners that

  they believe our IRA funds are still frozen under the authority of OMB Memo M-25-

  11.”). That is a sufficient causal connection.

        Another reason is equally illuminating: the Agencies’ sudden about-face on

  pausing funds soon after issuance of the memo. Either release of the memo led to the

  pause of the Agencies’ already-awarded IRA and IIJA funding or five “federal

  agencies, none of which had acted to cut off financial assistance” before the freeze

  “suddenly began exercising their own discretion to suspend funding across the board

  at the exact same time.” Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No.

  CV 25-239 (LLA), 2025 WL 597959, at *7 (D.D.C. Feb. 25, 2025). As between these

  two options, the latter “would be a remarkable—and unfathomable—coincidence.” Id.

  And that “this uniform freeze occurred” in the days right “after the memorandum’s

  issuance would be quite the happenstance, too.” Id. In short, the Government asks




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  the Court “to overlook the simplest, most logical explanation” for what happened. Id.

  The Court declines.

                        c.    NEC Director

        The Government raises the same traceability arguments for the NEC Director

  as it did OMB. (ECF No. 31 at 17.) These arguments fail for the same reasons, given

  the NEC Director’s co-authorship of the memorandum. (ECF No. 21-1 at 2.)

        Only in a footnote, the Government separately argues that Director Hassett is

  not an “agency” under the APA. (ECF No. 31 at 17 n.2.) But the First Circuit has

  “repeatedly held that arguments raised only in a footnote” are “waived.”        Nat’l

  Foreign Trade Council v. Natsios, 181 F.3d 38, 61 n. 17 (1st Cir. 1999); see also

  Modeski v. Summit Retail Sols., Inc., 470 F. Supp. 3d 93, 110 (D. Mass. 2020) (same).

               2.       Claim splitting

        Next, the Government argues that the doctrine of claim splitting precludes this

  suit, because NCN (one of several Plaintiffs here) “and its members are already

  litigating a case in the United States District Court for the District of Columbia

  (D.D.C.) challenging the same alleged harms from the ‘federal funding freeze.’” (ECF

  No. 31 at 18.) In its view, this case involves the same plaintiff, “represented by the

  same counsel, in yet another challenge to an alleged categorical pause in grant

  funding—with yet another request for emergency, expedited relief.” Id. at 18–19.

  And even if some Nonprofits here were not NCN members, “that would at most allow

  those three entities’ claims to proceed—not the claims of NCN or the other two

  Plaintiffs who are participants in the D.D.C. action.” Id. at 21–22.




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        The Nonprofits reply that they are here challenging “entirely separate agency

  actions, by a much broader set of defendants, to freeze a different category of funds—

  i.e., funding appropriated under the IRA and IIJA.” (ECF No. 32 at 11.) And they

  say that their challenge here does not relate to OMB Memo M-25-13, the agency

  action at issue in the D.D.C. litigation. Id.

        The doctrine precluding claim splitting relates to—but differs from—the

  doctrine of res judicata. See Curtis v. Citibank, N.A., 226 F.3d 133, 138 (2d Cir. 2000);

  The main difference is that claim splitting, unlike res judicata, applies where the

  second suit has been filed before the first suit has reached a final judgment. See 18

  Fed. Prac. & Proc. Juris. § 4406 (3d ed.) (discussing “principles of ‘claim splitting’ that

  are similar to claim preclusion, but that do not require a prior judgment”).

        Still, the doctrines serve similar policies.      First, “the power to dismiss a

  duplicative lawsuit is meant to foster judicial economy and the comprehensive

  disposition of litigation.” Curtis, 226 F.3d at 138 (cleaned up). Claim splitting is

  “concerned with the district court’s comprehensive management of its docket,” while

  “res judicata focuses on protecting the finality of judgments.” Vanover v. NCO Fin.

  Servs., Inc., 857 F.3d 833, 841 (11th Cir. 2017).

        And second—more relevant here—the claim splitting doctrine “is also meant

  to protect parties from the vexation of concurrent litigation over the same subject

  matter.” Curtis, 226 F.3d at 138 (cleaned up); see also Clements v. Airport Auth. of

  Washoe Cty., 69 F.3d 321, 328 (9th Cir. 1995) (“A main purpose behind the rule

  preventing claim splitting is to protect the defendant from being harassed by




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  repetitive actions based on the same claim.”). The point is that a “litigant with

  multiple related claims must not separate, or split, the claims into multiple,

  successive cases, but must include in the first action all of the claims that fall within

  the Court’s jurisdiction.” Perry v. Alexander, 2:15-cv-00310-JCN, 2017 WL 3084387,

  at *3 (D. Me. July 19, 2017) (cleaned up).

         Federal courts borrow from the res judicata test to determine whether the

  claim splitting doctrine applies. So the Government must show that the first suit, if

  it were final, would preclude the subsequent suits. See Taylor v. Sturgell, 553 U.S.

  880, 907 (2008) (“Claim preclusion, like issue preclusion, is an affirmative defense”

  that the defendant must “plead and prove.”); Vanover, 857 F.3d at 841.

         The First Circuit employs the “transactional approach” to determine whether

  successive causes of action are the same as the first. See Mass. Sch. of Law at

  Andover, Inc., v. Am. Bar Ass’n, 142 F.3d 26, 38 (1st Cir. 1998). “Under this approach,

  a cause of action is defined as a set of facts which can be characterized as a single

  transaction or series of related transactions.” Id. The essential inquiry, then, is

  whether “the causes of action arise out of a common nucleus of operative facts.” Id.

  “In mounting this inquiry, we routinely ask whether the facts are related in time,

  space, origin, or motivation, whether they form a convenient trial unit, and whether

  their treatment as a unit conforms to the parties’ expectations.” Id. (cleaned up);

  Curtis, 226 F.3d at 139 (holding that claim splitting will apply if “the same or

  connected transactions are at issue and the same proof is needed to support the claims

  in both suits”).




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        The Government has not met its burden here. To start, the universe of agency

  action in these two cases is distinct enough that the Court struggles to see them as

  arising “out of a common nucleus of operative facts” or especially as forming “a

  convenient trial unit.” 142 F.3d at 38. The D.D.C. plaintiffs challenged a different

  agency action: OMB Memo M-25-13. Nat’l Council of Nonprofits, 2025 WL 597959,

  at *6 (D.D.C. Feb. 25, 2025). The Nonprofits here challenge another memo, M-25-11,

  along with five Agencies’ funding freezes arising from that memo. (ECF No. 21 ¶¶ 82,

  86–87, 92–95, 101–103.)

        That some overlap occurs—mainly the complicated interplay between different

  OMB memos—is not enough. The cases are fundamentally different in their factual

  and legal analysis, even if some legal issues appear in both cases. See New York v.

  Trump, No. 25-CV-39-JJM-PAS, 2025 WL 715621, at *8–*9 (D.R.I. Mar. 6, 2025)

  (separately analyzing an OMB directive and the “Agency Defendants’ acts

  implementing funding pauses” under the guidance). Most persuasive on this point

  is, as the Nonprofits describe it, the “fact that the district court in NCN v. OMB has

  enjoined the directive in that memo” and “the government has purportedly

  withdrawn it.” (ECF No. 32 at 11 (citing NCN II, 2025 WL 597959, at *3, 19–20)).

  The Nonprofits suggest that this fact “only confirms that Defendants’ ongoing freezes

  of IRA and IIJA funding are factually distinct” from the withdrawn memo challenged

  in the D.D.C. litigation. (ECF No. 32 at 11.) The Court agrees: the fact that Memo

  M-25-13 is withdrawn and yet the freezes at issue in this case continue illustrates

  why the claim-splitting doctrine is unavailing here.




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        B.      Likelihood of success on the merits

        The Court now turns to the Nonprofits’ likelihood of success on the merits of

  their three APA claims. First, they argue that the Government’s funding freeze is

  arbitrary and capricious. (ECF No. 26 at 14–22.) The freeze, they contend, is neither

  “reasonable” nor “reasonably explained,” and each is independently fatal to its

  viability. See Ohio v. EPA, 603 U.S. 279, 292 (2024). Second, the Nonprofits submit

  that the funding freeze exceeds the statutory authority that any of the Defendants

  possess. (ECF No. 26 at 22–25.) No statutes allow OMB or the NEC Director to issue

  guidance to freeze funds or allow the five Agencies to freeze any funding appropriated

  by the IRA and IIJA, goes the argument, so their actions were necessarily overreach.

  Finally, the Nonprofits argue that the funding freeze is contrary to law: both the IRA

  and the IIJA as well as regulatory procedures setting out specific procedures for

  suspending and terminating grants. (ECF No. 26 at 25–28.)

        At this stage, the Nonprofits need only show a substantial likelihood of success

  on one of their three claims. See, e.g., Worthley v. Sch. Comm. of Gloucester, 652 F.

  Supp. 3d 204, 215 (D. Mass. 2023) (collecting cases).

               1.     Threshold APA issues

        Before reaching the merits, though, the Court must determine several

  threshold issues arising under the APA. Most pressing is whether the Nonprofits are

  likely to show that the funding freeze constitutes a “final agency action” under the

  APA. 5 U.S.C. § 704. If the freeze is not, then it cannot be subject to judicial review.




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        The Government identifies four additional threshold issues. First is that the

  Nonprofits do not really “identify the agency actions” they seek to challenge; the

  freeze is instead “comprised of many different actions by numerous different

  agencies,” the ultimate scope being unclear. (ECF No. 31 at 22–25.) This matters,

  argues the Government, because it “realistically” cannot “be expected to defend the

  statutory basis for an undefined universe of agency decisions, let alone explain the

  reasoned decision-making behind each of those unknown decisions.” Id. at 24.

        The Government insists that three further defects are fatal. The claims, in the

  Government’s view, masquerade as a challenge to an executive order, which is

  unreviewable under the APA. (ECF No. 31 at 26–29). They are also “tantamount to

  impermissibly broad, programmatic challenges to entire agency operations.”          Id.

  at 25, 29–32. And even viewed in their narrowest form, they are grant-specific

  challenges that this Court lacks the jurisdiction to adjudicate. Id. at 32–37. Instead,

  in the Government’s view, the Tucker Act requires that these claims be asserted in

  the Court of Federal Claims. Id. at 33–35.

                      a.    Failure to identify agency action

        First, the Court disagrees that the Nonprofits have not identified any agency

  actions. In fact, the Nonprofits make it clear: they are challenging “Defendants’

  ongoing holds on IRA and IIJA funding.” (ECF No. 32 at 5.) The First Circuit

  recently recognized the concrete nature of similar challenges. New York v. Trump,

  No. 25-1236, 2025 WL 914788, at *13 (1st Cir. Mar. 26, 2025) (“The Plaintiff-States’

  opposition does identify specific agency actions. The Plaintiff-States make clear that




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  they challenge the Agency Defendants’ ‘actions -- following the executive orders and

  [OMB] Directive -- to implement categorical funding freezes without regard and

  contrary to legal authority.’”)

        True, the Nonprofits are challenging “many different actions by numerous

  different agencies” all at once. (ECF No. 31 at 24.) But that does not defeat an APA

  claim. The First Circuit is “not aware of any supporting authority for the proposition

  that the APA bars a plaintiff from challenging a number of discrete final agency

  actions all at once.” New York, 2025 WL 914788, at *13 (1st Cir. Mar. 26, 2025). Nor

  does the Government identify any. Id. And the Nonprofits’ broad challenges only

  arise because OMB, the NEC Director, and the five Agency Defendants froze all the

  funding in concert. So the Government’s actions here are hardly an “undefined

  universe of agency decisions.” (ECF No. 31 at 24.)

        The Court can be more specific. The universe boils down to five agencies

  (Energy, EPA, HUD, Interior, and USDA) deciding summarily to withhold already-

  awarded funds appropriated by Congress under two laws, the IIJA and the IRA,

  based on compliance with a directive from OMB and the NEC Director. Or more

  simply, there are seven agency actions here: OMB and the NEC Director’s decisions

  to issue the Unleashing Guidance mandating a pause (one action from each) and

  Energy, EPA, HUD, Interior, and USDA’s decisions to follow that guidance by

  summarily freezing IIJA and IRA funds (one action from each of these five agencies).4




  4 Whether these agency decisions are “final” is discussed below at Part III.B.1.e.



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        Record evidence makes the Government’s feigned confusion on this point

  particularly puzzling. When one grantee logged onto the ASAP portal, for instance,

  the code for the pause to their funds was “IRA/BIL Hold,” abbreviations for the

  Inflation Reduction Act (“IRA”) and the Infrastructure Investment and Jobs Act (also

  known as the Bipartisan Infrastructure Law, or “BIL”). (ECF No. 32-4 ¶ 8.) How

  difficult could it really be for the Government to figure out which actions are

  challenged if there is already a specific computer code for these universal pauses?

                       b.   Backdoor challenge to an executive order

        Second, the Court does not see the Nonprofits’ claims as a backdoor challenge

  to an executive order. The Government recognizes that the Nonprofits “do not seek

  relief directly against the President’s Executive Order,” (ECF No. 31 at 26 n.3), and

  in any event, the Nonprofits can challenge the implementation of an order without

  challenging the order itself—particularly when they cast the Unleashing EO as a

  “narrow” one and make a compelling argument that the Government has in fact failed

  to comply with it to the letter. See ECF No. 26 at 18; see also Nat’l Council of

  Nonprofits, 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025) (“[F]urthering the

  President’s wishes cannot be a blank check for OMB to do as it pleases.”)

                       c.   Programmatic attack

        Third, the Nonprofits’ claims are not the improper programmatic attack that

  the Government paints them to be. The Government’s argument is unconvincing in

  part for the same reasons as its argument about the Nonprofits’ failure to identify

  any agency action.




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        Further guidance from the First Circuit bolsters the Court’s conclusion. It

  recently, roundly rejected a similar argument in New York, 2025 WL 914788, at *12–

  13, and that reasoning applies equally here. The Supreme Court previously made

  clear that an agency’s action in “applying some particular measure across the board”

  could “of course be challenged under the APA.” Lujan v. Nat’l Wildlife Fed’n, 497

  U.S. 871, 890 n.2 (1990). And as in New York, that is what happened here. The First

  Circuit explained:

        The District Court determined here, by contrast, that the Plaintiff-States’ APA
        claims do challenge discrete final agency actions. To be sure, those claims, like
        the motion for the preliminary injunction, describe those actions, collectively,
        as the ‘Federal Funding Freeze.’ The District Court at points uses that
        nomenclature as well. But the claims themselves, like the motion, assert that
        the discrete final agency actions are the decisions by the Agency Defendants to
        implement broad, categorical freezes on obligated funds.

  New York, 2025 WL 914788, at *12 (1st Cir. Mar. 26, 2025). So too here.

        The Court finds the Government’s alternate characterization of its actions as

  “thousands of individual decisions made by agencies about whether particular grants

  or other funding should be paused” unconvincing. (ECF No. 31 at 31.) Of course, in

  reviewing the record, a court is “not required to exhibit a naiveté from which ordinary

  citizens are free.” Dep’t of Com. v. New York, 588 U.S. 752, 785 (2019) (cleaned up);

  New York, 2025 WL 914788, at *13 (1st Cir. Mar. 26, 2025) (same). And, as explained

  above, the contention that these agencies “suddenly began exercising their own

  discretion to suspend funding across the board at the exact same time” is truly

  doubtful, because it requires “unfathomable,” “coincidental assumptions” and




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  “contradicts the record.” Nat’l Council of Nonprofits, 2025 WL 597959, at *7 (D.D.C.

  Feb. 25, 2025).

        After all, it “is unclear whether twenty-four hours is sufficient time for an

  agency to independently review a single grant, let alone hundreds of thousands of

  them.” Id. at *15 (cleaned up); see also New York, 2025 WL 715621, at *8 (D.R.I.

  Mar. 6, 2025) (“To suggest that the challenged federal funding freezes were purely

  the result of independent agency decisions rather than the OMB Directive or the

  Unleashing Guidance is disingenuous.”).

                     d.     Tucker Act

        And fourth, the Court disagrees that these APA claims are outside the scope of

  its jurisdiction. Most relevant to this argument, the Tucker Act does not apply here,

  either to the Unleashing Guidance or the Agencies’ freezes. See Massachuetts v. Nat’l

  Institutes of Health, No. 25-CV-10338, 2025 WL 702163, at *4–*8 (D. Mass. Mar. 5,

  2025) (laying out the framework for an APA-Tucker Act analysis).

        The Tucker Act “confers jurisdiction upon the Court of Federal Claims over the

  specified categories of actions brought against the United States.” Fisher v. United

  States, 402 F.3d 1167, 1172 (Fed. Cir. 2005). It vests jurisdiction there with respect

  to “any claim against the United States founded either upon the Constitution, or any

  Act of Congress or any regulation of an executive department, or upon any express or

  implied contract with the United States, or for liquidated or unliquidated damages in

  cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). And in suits seeking more than

  $10,000 in damages, the Court of Federal Claims’ jurisdiction is exclusive of the




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  federal district courts. See Burgos v. Milton, 709 F.2d 1, 3 (1st Cir. 1983). So

  plaintiffs wishing to file “a suit against the United States involving a contract” where

  the “relief [sought is] over $10,000” must do so in the Court of Federal Claims. Vill.

  W. Assocs. v. R.I. Hous. & Mortg. Fin. Corp., 618 F. Supp. 2d 134, 138 (D.R.I. 2009).

        The “jurisdictional boundary” between the Tucker Act and the APA is well-

  traversed by litigants seeking relief against the federal government.        Suburban

  Mortg. Assocs., Inc. v. U.S. Dep’t of Hous. & Urb. Dev., 480 F.3d 1116, 1117 (Fed. Cir.

  2007). Still, the boundary’s precise contours remain elusive. See id. at 1124 (listing

  cases treading the jurisdictional line); Bublitz v. Brownlee, 309 F. Supp. 2d 1, 6

  (D.D.C. 2004) (noting “[t]he bright-line rule” between monetary and equitable relief

  in the Tucker Act–APA context “turns out to be rather dim ....”). Plaintiffs sometimes

  attempt to “avoid Tucker Act jurisdiction by converting complaints which at their

  essence seek money damages from the government into complaints requesting

  injunctive relief or declaratory actions.” Martin v. Donley, 886 F. Supp. 2d 1, 8

  (D.D.C. 2012) (cleaned up).

        The Supreme Court has made clear that “not every claim invoking the

  Constitution, a federal statute, or a regulation is cognizable under the Tucker Act.”

  United States v. Mitchell, 463 U.S. 206, 216 (1983) (cleaned up). Indeed, not every

  “failure to perform an obligation” by the federal government “creates a right to

  monetary relief.” United States v. Bormes, 568 U.S. 6, 16 (2012). When traversing

  the Tucker Act–APA jurisdictional boundary, courts “must look beyond the form of

  the pleadings to the substance of the claim,” Suburban Mortg., 480 F.3d at 1124, to




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  determine whether “the essence of the action is in contract.” Am. Sci. & Eng’g, Inc.

  v. Califano, 571 F.2d 58, 63 (1st Cir. 1978). The “essence” of the action encompasses

  two distinct aspects: the “source of the rights upon which the plaintiff bases its claim”

  and “the type of relief sought (or appropriate).” Piñeiro v. United States, No. 08-CV-

  2402, 2010 WL 11545698, at *5 (D.P.R. Jan. 26, 2010) (cleaned up); see also R.I. Hous.

  & Mortg. Fin. Corp., 618 F. Supp. 2d at 138.

        While the First Circuit has not formally adopted the “rights and remedies” test

  that is used by several other circuits, district courts within it have adopted the test

  to determine whether the “essence” of an action is truly contractual.                See

  Massachusetts, 2025 WL 702163, at *4–*8; R.I. Hous. & Mortg. Fin. Corp., 618 F.

  Supp. 2d at 138; Piñeiro, 2010 WL 11545698, at *5. This Court adopts the same

  framework, derived from Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982),

  and discusses each element in turn.

        First, the Court considers the source of the Nonprofits’ rights. After examining

  the Complaint, the Court finds that, like in Massachusetts v. NIH, “the gravamen” of

  the Nonprofits’ allegations “does not turn on terms of a contract between the parties;

  it turns on federal statute and regulations put in place by Congress” and the agencies.

  Massachusetts, 2025 WL 702163, at *6; see, e.g., K-Mar Indus., Inc. v. U.S. Dep’t of

  Def., 752 F. Supp. 2d 1207, 1214 (W.D. Okla. 2010) (“The source of the rights alleged

  in this action is not contractual, it is the procedures put in place by the defendants.”)

        The Government largely seems to agree.            As it explained in its brief,

  “Determining whether a pause on disbursement is lawful necessarily requires




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  examining the underlying statutes governing a program, the appropriations

  measures providing funding for the program, and potentially the specific terms and

  conditions included in the grant agreement for that program.” (ECF No. 31 at 24.)5

  Throughout their briefing, neither the Nonprofits nor the Government have pointed

  the Court to specific terms and conditions in the grant agreements.

        To be clear: the fact that there are underlying contractual relationships

  between the Nonprofits and the Government does not automatically “convert a claim

  asserting rights based on federal regulations into one which is, at its essence, a

  contract claim.” Normandy Apartments, Ltd. v. U.S. Dep’t of Hous. & Urb. Dev., 554

  F.3d 1290, 1299 (10th Cir. 2009) (cleaned up). As in Massachusetts, the Nonprofits

  “have not requested the Court to examine any contract or grant agreement created

  between the parties.” Massachusetts, 2025 WL 702163, at *6. Instead, they “have

  asked this Court to review and interpret the governing federal statute and

  regulations.” Id.

        Having recognized that the source of the Nonprofits’ rights is federal law

  rather than contract, the Court now turns to the relief sought. There is a “distinction

  between an action at law for damages,” which provides monetary compensation, and

  “an equitable action for specific relief,” which might still require monetary relief.

  Bowen v. Massachusetts, 487 U.S. 879, 893 (1988); see Great-W. Life & Annuity Ins.




  5 True, the Government suggests, in that same quote, that it is “potentially” necessary

  to examine “the specific terms and conditions included in the grant agreement for
  that program.” (ECF No. 31 at 24.) But that caveat does not defeat its clear
  recognition that federal statutes and regulations largely control the analysis here.

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  v. Knudson, 534 U.S. 204, 213 (2002) (“Whether [restitution] is legal or equitable

  depends on the basis for [the plaintiff’s] claim and the nature of the underlying

  remedies sought.”) (cleaned up). Simply because “a judicial remedy may require one

  party to pay money to another” does not necessarily “characterize the relief as money

  damages.” Bowen, 487 U.S. at 893. A hallmark of such equitable actions is the

  existence of prospective relief in ongoing relationships. Compare Bowen, 487 U.S.

  at 905 (holding that the district court had jurisdiction because declaratory or

  injunctive relief was appropriate to clarify petitioner state’s ongoing obligations

  under the Medicaid plan), with Me. Cmty. Health Options v. United States, 590 U.S.

  296, 298 (2020) (holding that petitioners properly relied on the Tucker Act to sue for

  damages in the Court of Federal Claims because plaintiffs were strictly concerned

  with “specific sums already calculated, past due, and designed to compensate for

  completed labors”).

        The Nonprofits’ primary purpose in bringing their claims is to seek equitable,

  not monetary, relief. They do not bring claims for past pecuniary harms. Rather,

  like the plaintiffs in Bowen and Massachusetts, “their claims are to preserve their

  ongoing and prospective” agreements with the Government. Massachusetts, 2025

  WL 702163, at *7. And the various harms the Nonprofits identified correspond to

  that relief. The Nonprofits indicate that the blanket IIJA and IRA funding freezes

  will result in lost jobs, a suspension of research and community initiatives, and a loss

  of goodwill.   See infra, Part III.C (discussing these irreparable injuries, among

  others). Ultimately, these harms are the ones for which the Nonprofits are pleading




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  relief. It would be legal error to construe the claims as couched pleas for monetary

  relief for which the Nonprofits never asked.

        Since the Court finds that the proper source of the Nonprofits’ rights is federal

  statute and regulations and because the relief sought is injunctive in nature, the

  Court determines that the “essence” of the action is not contractual in nature. R.I.

  Hous. & Mortg. Fin. Corp., 618 F. Supp. 2d at 138. So the Nonprofits’ claims cannot

  properly be brought under the Tucker Act in the Court of Federal Claims and this

  Court retains jurisdiction.

        The Supreme Court’s recent order in Department of Education v. California,

  145 S.Ct. 966 (Apr. 4, 2025), is not to the contrary. The Supreme Court noted that

  the APA’s waiver of sovereign immunity does not apply to claims seeking money

  damages, but also reaffirmed the general rule that “a district court’s jurisdiction ‘is

  not barred by the possibility’ that an order setting aside an agency’s action may result

  in the disbursement of funds.” Id. at 968 (quoting Bowen, 487 U.S. at 910). The

  Government overreads the three-page stay order. See Nken v. Holder, 556 U.S. 418,

  434 (2009) (explaining that the issuance of a stay “is dependent upon the

  circumstances of the particular case”).     The Supreme Court’s brief treatment of

  Bowen and Great-West Life in California and the cursory mention of potential

  jurisdictional issues do not appear to settle all jurisdictional issues here, despite the

  Government’s arguments to the contrary.6



  6 The Court digresses briefly to note something funny.      At oral argument following
  the First Circuit’s decision in California, but prior to the Supreme Court’s decision,
  the Government argued that California was not “binding at this stage given the stay

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        Instead, Bowen mandates that a careful examination of the Nonprofits’ claims

  and the relief sought—as the Court has done here—are necessary. To the extent that

  the Court’s order “engenders” the result of payment to the Nonprofits, “this outcome

  is a mere by-product” of the Court’s “primary function of reviewing the

  [Government’s] interpretation of federal law.” Bowen, 487 U.S. 879, 910. And “even

  if” the Court’s orders “are construed in part as orders for the payment of money by

  the Federal Government” to the Nonprofits, Bowen makes clear that those “payments

  are not ‘money damages,’” and that the “orders are not excepted from § 702’s grant of

  power by § 704.” Id. Put differently, “since the orders are for specific relief (they undo

  the [Government’s freeze of funds]) rather than for money damages (they do not

  provide relief that substitutes for that which ought to have been done) they are

  within” the Court’s jurisdiction. Id. That is especially clear for any relief against

  OMB and the NEC Director, because the Nonprofits’ claims against them rest solely

  on their lack of authority to direct other agencies to freeze funds.

        In short, the Court cannot disregard Bowen. Even if it looks like California

  may have “implicitly overruled” it, the Supreme Court has repeatedly made clear that




  posture of that decision” and was also “fundamentally different” and “distinguishable
  because that case involved actual termination of the relevant grants.” (ECF No. 39
  at 83–84.) But now the Government insists that California divests the Court of
  jurisdiction and says that the Nonprofits’ effort “to portray [California] as ‘readily
  distinguishable’ ring hollow.” (ECF No. 41 at 3.) What changed? The Court’s best
  guess: a result that the Government now favors. Its change in tune—and, to be fair,
  the Nonprofits’ as well, in their new efforts to distance themselves from California—
  highlights the challenges of pinning down the precedential effects of emergency
  decisions. That is part of why the Court declines to hold that the Supreme Court
  overruled Bowen and its progeny via stay order.

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  lower courts “should follow the case which directly controls, leaving to [the Supreme]

  Court the prerogative of overruling its own decisions.” Mallory v. Norfolk S. Ry. Co.,

  600 U.S. 122, 136 (2023). That is true even if the lower court “thinks the precedent

  is in tension with some other line of decisions”—or here, rather than an entire

  competing “line of decisions,” a single three-page per curiam order granting a stay.

  See Merrill v. Milligan, 142 S. Ct. 879, 879 (2022) (Kavanaugh, J., concurring) (“The

  principal dissent’s catchy but worn-out rhetoric about the ‘shadow docket’ is similarly

  off target. The stay will allow this Court to decide the merits in an orderly fashion—

  after full briefing, oral argument, and our usual extensive internal deliberations—

  and ensure that we do not have to decide the merits on the emergency docket. To

  reiterate: The Court’s stay order is not a decision on the merits”); accord id. at 883

  (Roberts, C.J., dissenting) (critiquing the Supreme Court’s emergency orders for

  necessitating decisions without the opportunity for “full briefing and argument—

  based on the scanty review this Court gives matters on its shadow docket”). And the

  case that “directly controls,” the one that the Court must follow, is Bowen.

        Other district courts facing similar issues have similarly held that California

  did not divest them of jurisdiction. Maine v. United States Dep’t of Agric., No. 1:25-

  CV-00131-JAW, 2025 WL 1088946, at *19 (D. Me. Apr. 11, 2025); New York v. Trump,

  No. 25-cv-39-JJM-PAS, ECF No. 182 at 5–9 (D.R.I. Apr. 14, 2025). In addition to the

  reasons already provided, the Court agrees and adopts their reasoning in full to the

  extent it applies here.




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                      e.    “Final agency action” test

        All that aside, the Court must determine whether there was “final agency

  action” under 5 U.S.C. § 704. A final agency action has two essential qualities. First,

  it “marks the consummation of the agency’s decisionmaking process.” Corner Post,

  Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 603 U.S. 799, 808 (2024) (cleaned up). And

  second, it either is an action “by which rights or obligations have been determined, or

  from which legal consequences will flow.” Id. (cleaned up).

        To the first point, the Nonprofits argue that the “sweeping halts to the ordinary

  payment and processing” of appropriated funds mark “the consummation” of the

  decision-making process because “there are no further steps the agencies need to take

  to determine whether they will freeze that funding.” (ECF No. 26 at 13.) And to the

  second, they argue that “legal consequences” have flowed from the decisions, because

  their “direct result (and express purpose)” was “to cut off access to funding for

  grantees and others who would otherwise have a right to apply for, draw on, or

  otherwise access these funds.” Id. at 14.

        The Government declines to engage with that test. Along with the threshold

  issues discussed above, it instead argues that, rather than a reviewable “final agency

  action,” the funding freeze decisions are “committed to agency discretion by law”

  under 5 U.S.C. § 701(a)(2) and thus unreviewable under the APA. (ECF No. 31 at 35–

  36.) In its view, the Agency Defendants’ “decision to stop funding for Plaintiffs’

  projects, and to recompete the funds associated with those projects, is the type of

  agency action that is presumptively unreviewable.” Id. at 36. (quoting Pol’y & Rsch.,




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  LLC v. Dep’t of Health & Hum. Servs., 313 F. Supp. 3d 62, 76 (D.D.C. 2018) (Jackson,

  J.)).

          The Nonprofits have a strong likelihood of proving that the funding freezes

  constitute final agency action for precisely the reasons they spell out. The decisions

  to issue the Unleashing Guidance (for OMB and the NEC Director) and to pause all

  IIJA and IRA funding (for Energy, EPA, Interior, HUD, and USDA) indeed mark the

  “consummation” of each agency’s decision-making process. 603 U.S. at 808. That is

  because, as the Nonprofits put it, “there are no further steps the agencies need to take

  to determine whether they will freeze that funding,” or, with OMB and the NEC

  Director, to order them to do so. (ECF No. 26 at 13.) And “legal consequences” surely

  flow, given that grant recipients cannot access previously awarded funds. Id.

          A breadth of caselaw supports this conclusion. See Louisiana v. Biden, 622

  F. Supp. 3d 267, 291–92 (W.D. La. 2022) (collecting more than a dozen cases where

  temporary stops and pauses constituted final agency action for APA purposes). As

  does an emerging consensus of district courts recently hearing cases about different

  aspects of federal funding freezes. See, e.g., New York, 2025 WL 715621, at *8–*9

  (D.R.I. Mar. 6, 2025) (finding that “the implementation of those IIJA and IRA funding

  pauses likely marked the consummation of each agency’s decision to comply with the

  Unleashing EO, the Unleashing Guidance, or both”); Nat’l Council of Nonprofits, 2025

  WL 597959, at *13 (D.D.C. Feb. 25, 2025) (finding that the OMB Pause Memorandum

  constituted final agency action).




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        Nor is it clear that the pause is the unreviewable type of agency decision

  “committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). Decisions about

  appropriated but not-yet-awarded funds likely fall into that bucket. See Lincoln v.

  Vigil, 508 U.S. 182, 192 (1993) (“The allocation of funds from a lump-sum

  appropriation is another administrative decision traditionally regarded as committed

  to agency discretion.”) But this case is different: because the funds at issue here were

  already awarded to the Nonprofits, more obligations apply.         See, e.g., 2 C.F.R.

  §§ 200.300–200.346.

        Then-Judge Jackson’s decision in Policy & Research, LLC, shows why. After

  noting that many funding decisions are “presumptively unreviewable,” she explained

  that there were two caveats:

        Congress can, of course, circumscribe agency discretion to allocate resources
        through its statutory provisions.       What is more, agencies themselves
        frequently cabin their own discretionary funding determinations by generating
        formal regulations or other binding policies that provide meaningful standards
        for a court to employ when reviewing agency decisions under the APA.

  Pol’y & Rsch., LLC, 313 F. Supp. 3d at 76 (cleaned up). The decision ultimately held

  that the Department of Health and Human Services, in suddenly halting funds to a

  longstanding project, “violated the APA, because it failed to explain its reasoning and

  acted contrary to its regulations when it terminated the Plaintiffs’ grants.” Id. at 83

  (cleaned up). This case closely tracks that one—the main difference being, instead of

  one program’s termination, that the Government’s actions here involve summarily,

  indefinitely freezing already-awarded money affecting many more.




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        Having held that the Nonprofits are likely to establish that the funding freeze

  constitutes a “final agency action” under the APA and seeing no other threshold flaws

  with their APA claims, the Court moves to the merits.

               2.      Count I: “Arbitrary and capricious” claim

        The Nonprofits first assert that the funding freeze was unlawfully arbitrary

  and capricious. The APA requires reviewing courts to “hold unlawful and set aside

  agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not

  in accordance with law.” 5 U.S.C. § 706(2)(A). An agency action is arbitrary or

  capricious “if it is not reasonable and reasonably explained.” Ohio v. EPA, 603 U.S.

  279, 292 (2024). The Court cannot “substitute its judgment for that of the agency,”

  but it must take care to “ensure” that the agency has “offered a satisfactory

  explanation for its action, including a rational connection between the facts found

  and the choice made.” Id. (cleaned up). And “an agency cannot simply ignore an

  important aspect of the problem.” Id. (cleaned up).

        The Nonprofits make a host of arguments explaining why the freeze is

  arbitrary and capricious, but they can be boiled down to six main points. First, the

  funding freeze is “likely substantively unreasonable” because it arises “seemingly for

  no reason other than hostility to the statutes at issue.” (ECF No. 26 at 15–16.)

  Second, even if it were reasonable, it was never “reasonably explained,” because “none

  of the Defendant Agencies has ever offered an adequate explanation for their actions.”

  Id. at 16–17.     Their public statements lack reasoning and do not explain how

  “intentional blanket freezes on funding that Congress appropriated for specific ends




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  that it judged important could possibly improve the agencies’ alignment with

  congressional authorization.” Id. at 17.

        Third, the Nonprofits separately argue that there is a disconnect between the

  Unleashing EO and the broad agency actions here. Id. at 17–19. “Very little—if

  any—IRA and IIJA appropriations contravene” the goals stated in the Unleashing

  EO, and “significant portions actively further those goals,” so a blanket freeze on all

  IRA and IIJA funds is unlawfully overinclusive. Id. at 18. Fourth, the Agencies failed

  to consider the practical consequences of the freeze, showing a lack of reasoned

  decision-making.    Id. at 19–20.    Fifth, they also failed to consider reasonable

  alternatives and provide a reasoned explanation for why they rejected the

  alternatives, another indicium of a dearth of reasoned decision-making. Id. at 20.

  Sixth and finally, the freezes improperly failed to account for the Nonprofits’ “weighty

  reliance interests in receiving already awarded funds.” Id. at 20–22.

        The Government responds with a host of its own points. First is that arbitrary

  and capricious review is inappropriate. That is so, the Government argues, for three

  reasons: because the Nonprofits’ claims are an “amorphous, broad-based

  programmatic attack” impossible to adequately review, because review would

  improperly constitute “a backdoor attempt to obtain arbitrary and capricious review”

  of the Unleashing EO itself, and because without knowing which agency actions are

  challenged, the Government cannot “raise all possible defenses.” (ECF No. 31 at 49–




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  50.)7 And even if arbitrary and capricious review were appropriate, the Government

  argues that the freeze was not arbitrary, because “it is perfectly rational to pause

  funding pending a further determination whether to continue that funding or redirect

  it elsewhere.” Id. at 50–55.

         The Nonprofits have made a strong showing that the funding freeze was

  arbitrary and capricious.      “In arbitrary and capricious cases, we distinguish

  substantive unreasonableness claims from lack-of-reasoned-explanation claims.”

  Multicultural Media, Telecom & Internet Council v. Fed. Commc’ns Comm’n, 873

  F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh, J.). “A substantive unreasonableness

  claim ordinarily is an argument that, given the facts, the agency exercised its

  discretion unreasonably,” and a “decision that the agency’s action was substantively

  unreasonable generally means that, on remand, the agency must exercise its

  discretion differently and reach a different bottom-line decision.” Id. Meanwhile, “a

  lack-of-reasoned-explanation claim in this context ordinarily consists of a more

  modest claim that the agency has failed to adequately address all of the relevant

  factors or to adequately explain its exercise of discretion in light of the information

  before it.” Id.

         The Court begins with the “more modest claim” that the Agencies’ funding

  freezes were not reasonably explained. Id. A decision is not reasonably explained if,

  among other things, “the agency has relied on factors which Congress has not




  7 For the same reasons previously described in Part III.B.1, these arguments are

  unavailing.

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  intended it to consider, entirely failed to consider an important aspect of the problem,

  offered an explanation for its decision that runs counter to the evidence before the

  agency, or is so implausible that it could not be ascribed to a difference in view or the

  product of agency expertise.” Melone v. Coit, 100 F.4th 21, 29 (1st Cir. 2024). The

  starting place is the reasoning that the agencies employed in executing the freeze.

  After all, “it is well-established that an agency’s action must be upheld, if at all, on

  the basis articulated by the agency itself.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

  State Farm Mut. Auto. Ins., 463 U.S. 29, 50 (1983).

        The Court finds that the Government failed to provide a rational reason that

  the need to “safeguard valuable taxpayer resources” justifies a sweeping pause of all

  already-awarded IIJA and IRA funds with such short notice. Again, the New York

  Court’s analysis is instructive:

        Rather than taking a deliberate, thoughtful approach to finding these alleged
        unsubstantiated “wasteful or fraudulent expenditures,” the Defendants
        abruptly froze billions of dollars of federal funding for an indefinite period. It
        is difficult to perceive any rationality in this decision—let alone thoughtful
        consideration of practical consequences.

  2025 WL 715621, at *12 (D.R.I. Mar. 6, 2025). And “the desire to review programs

  for efficiency or consistency” does not “have a rational connection to the directives to

  proceed with a sudden, blanket suspension of congressionally appropriated aid.” Aids

  Vaccine Advoc. Coal. v. U.S. Dep’t of State, No. CV 25-00400 (AHA), 2025 WL 752378,

  at *10 (D.D.C. Mar. 10, 2025).

        To be clear: there is “nothing inherently arbitrary and capricious” about an

  agency conducting a review of its spending under the IIJA and the IRA and trying to




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  root out waste, fraud, or excess. Id. “But these assertions alone do not provide a

  rational explanation for why such a review required an immediate and wholesale

  suspension” of all funding for an indefinite period. Id. Nor do those assertions “bear

  on the failure to consider the reliance interests of small and large” organizations “that

  would have to shutter programs or close altogether and furlough or lay off swaths of

  Americans in the process.” Id.

        And the Government cannot just rest on the Unleashing EO as its justification.

  That is true for at least two reasons. First, the Nonprofits persuasively argue that

  the Agencies’ actions were overbroad based on the Unleashing EO’s text and

  subsequent guidance.8 (ECF No. 21 ¶¶ 34–35.) After all, M-25-11 states that the

  freeze “only applies to funds supporting programs, projects, or activities that may be

  implicated by the policy established in section 2 of the order.”        (ECF No. 21-1.)

  Further, for “the purposes of implementing section 7 of the Order, funds supporting

  the ‘Green New Deal’ refer to any appropriations for objectives that contravene the

  policies established in section 2.” Id. In freezing any and all funding already awarded

  under the IIJA and the IRA, the Agencies failed to explain why all those

  appropriations “contravene the policies established in section 2.” Id.




  8 The Court disagrees with the Government that this argument is “foreclosed to
  Plaintiffs” just because “the EO specifically states that it does not create any private
  right of enforcement.” (ECF No. 31 at 54.) True, it does not, but it does not need to
  for the Nonprofits to argue that the fit between the EO and subsequent agency action
  was “arbitrary and capricious.” That is what the APA sets out to do. The result of
  the Government’ alterative theory is that agencies can do whatever they please in
  service of an EO, even if the agency’s action is otherwise arbitrary and capricious.

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        The second reason is equally important: an agency cannot avert the “arbitrary

  and capricious” analysis by simply deferring to the relevant EO. After all, “furthering

  the President’s wishes cannot be a blank check” for the Agencies to do as they please.

  Nat’l Council of Nonprofits, 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025). “The APA

  requires a rational connection between the facts, the agency’s rationale, and the

  ultimate decision.” Id. Here, there is none.

        The Government also ignored significant reliance interests. “When an agency

  suddenly changes course, it must recognize ‘that longstanding policies may have

  engendered serious reliance interests that must be taken into account.’” Dep’t of

  Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020). And here, the

  Government “entirely failed to do so.” 9 Nat’l Council of Nonprofits, 2025 WL 597959,

  at *15 (D.D.C. Feb. 25, 2025). Nothing from OMB, the NEC Director, or the five

  Agency Defendants shows that they considered the consequences of their broad,

  indefinite freezes: projects halted, staff laid off, goodwill tarnished. See infra Part

  III.C. Instead, they “essentially adopted a ‘freeze first, ask questions later’ approach.”

  Nat’l Council of Nonprofits, 2025 WL 597959, at *15.




  9 The Government suggests that “the Administration reached a policy judgment that

  safeguarding taxpayer dollars was a higher priority than providing uninterrupted
  funding to the IRA and IIJA recipients.” (ECF No. 31 at 52.) Fair enough, but that
  does not entitle agencies to do anything and everything in furtherance of it. None of
  the Defendant Agencies explained much at all, despite the “foundational principle of
  administrative law” that judicial review of agency action is limited to “the grounds
  that the agency invoked when it took the action.” Dep’t of Homeland Sec., 591 U.S.
  at 20.

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         Having found no rational connection between the sweeping actions taken and

  the vague justifications proffered, the Court holds that the Nonprofits have a strong

  likelihood of success on their arbitrary and capricious claims against all the

  Defendants. The Nonprofits have made a strong showing that the seven actions here

  were neither “reasonable” nor “reasonably explained,” two independent reasons that

  they were arbitrary and capricious. Ohio v. EPA, 603 U.S. at 292. Separately, the

  Court holds that the Nonprofits have shown a strong likelihood of success on their

  theory that the Defendants’ failure to consider reliance interests led to an arbitrary

  and capricious action. Dep’t of Homeland Sec., 591 U.S. at 30. Given that the Court

  has identified three strong “arbitrary and capricious” theories, it need go no further

  on the question.

               3.     Count II: “Exceeds statutory authority” claim

         The Nonprofits’ second APA claim is that the Government’s funding freeze was

  “in excess of statutory jurisdiction, authority, or limitations,” under 5 U.S.C.

  § 706(2)(C). (ECF No. 21 ¶¶ 89, 92–93.) More specifically, the Agency Defendants

  “lack statutory authority to broadly halt the disbursement of funding appropriated

  by the IRA and IIJA.” (ECF No. 26 at 22–24.) And the OMB and Director Hassett

  lack statutory authority “to direct agencies to freeze these funds (or to achieve the

  same result by withholding purportedly necessary approvals to the disbursement of

  funds …).”   Id. at 23. This exercise of “sweeping and unprecedented” power is

  especially problematic, the Nonprofits insist, because of the major questions doctrine.

  Id. at 24.




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        The Government responds that “each of the IRA and IIJA grant programs

  identified by Plaintiffs affords the relevant Defendant agency with significant

  discretion over allocating funding among eligible recipients.” (ECF No. 31 at 38.)

  And the Nonprofits, in turn, fail to identify “any statutory language requiring that

  Defendants fund their particular programs, let alone that Defendants do so on any

  particular timeline.” Id. Finally, the Government suggests that there “is no need for

  the Court to search for a statute specifically authorizing Defendants to pause funding

  and redirect it to a different recipient,” because the authority to do so “is implicit in

  the grant programs and appropriations laws themselves.” (ECF No. 31 at 45.)

        The Government’s last point is actually the starting point for the analysis. It

  is well-established that an agency “literally has no power to act—including under its

  regulations—unless and until Congress authorizes it to do so by statute.” FEC v.

  Cruz, 596 U.S. 289, 301 (2022). And “where the statute at issue is one that confers

  authority upon an administrative agency, that inquiry must be shaped, at least in

  some measure, by the nature of the question presented—whether Congress in fact

  meant to confer the power the agency has asserted.” W. Virginia v. EPA, 597 U.S.

  697, 721 (2022). It is probably true that, as the Government suggests, that the

  greater power to administer the funds includes some lesser power to pause individual

  grants.

        But the power that the Agency Defendants have actually asserted is a much

  broader one. It is not to pause individual, already-awarded funds for failure to comply

  with a grant agreement or because of a change in policy, but rather to freeze any




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  access to all already-awarded funds under two statutes indefinitely, based solely on

  the fact that the funds came from those two statutes. ECF No. 21-2 at 2; ECF No. 32-

  4 ¶ 8. In doing so, the Defendant Agencies have summarily tied up a significant

  subset of the billions of dollars already awarded under those acts.

        The Court cannot see how they can claim that power. “We expect Congress to

  speak clearly if it wishes to assign to an agency decisions of vast economic and

  political significance.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (cleaned

  up). And based on the Supreme Court’s past applications of the “major questions

  doctrine,” this case seems to involve similarly vast questions. See Ala. Ass’n of

  Realtors v. Dep’t of Health & Human Servs., 594 U.S. 758, 764 (2021) (applying the

  doctrine where the CDC implemented a nationwide eviction moratorium affecting up

  to 17 million tenants); NFIB. v. OSHA, 595 U.S. 109, 117–18 (2022) (applying the

  doctrine where OSHA required all federal employees to obtain COVID-19

  vaccinations).

        The Government seems to recognize that they lack the power to pause all IIJA

  and IRA funding at once. It argues, at another point in its brief, that determining

  “whether a pause on disbursement is lawful necessarily requires examining the

  underlying statutes governing a program, the appropriations measures providing

  funding for the program, and potentially the specific terms and conditions included

  in the grant agreement for that program.” (ECF No. 31 at 24.) From that premise,

  the Government suggests that the Court needs to “evaluate the specifics of each




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  alleged withholding, which cannot be done in the abstract or in an across-the-board

  manner.” Id.

        But what the Government says the Court cannot do is exactly what the

  Agencies did here. Each froze all available IIJA and IRA funding that it administers

  “in the abstract” and “in an across-the-board manner,” just based on the fundings’

  origins in the IIJA and the IRA. Id. If the Court must evaluate the specifics of each

  withholding to determine its lawfulness, it follows naturally that the Agencies likely

  exceeded their statutory authority in freezing them in totality, without regard to that

  same analysis. Because there is no clear statutory hook for this broad assertion of

  power, the Nonprofits are likely to succeed on the merits of this claim against the five

  Agency Defendants.10

        The “major questions” case against OMB and Director Hassett is even more

  straightforward. See Nat’l Council of Nonprofits, 2025 WL 597959, at *16 (applying

  the doctrine to OMB Memo M-25-13). The Government hardly seems to resist it.

  OMB’s organic statute is 31 U.S.C. § 503.        Under subsection (a)(2), OMB may

  “[p]rovide overall direction and leadership to the executive branch on financial

  management     matters    by   establishing    financial   management    policies   and

  requirements.” Id. § 503(a)(2). But providing overall direction and establishing

  financial management policies do not clearly confer the power to halt all funding




  10 The Government’s two other arguments about broad threshold discretion and
  funding timelines are irrelevant. The Court is not requiring the Government to do
  anything over than maintain their current obligations or, alternatively, pause or
  terminate them in an individualized way consistent with law.

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  arising from the IIJA and IRA, full-stop, on a moment’s notice and to create a new

  pre-clearance regime centered around OMB. Indeed, the structure and provisions of

  Section 503 strongly suggest that OMB occupies an oversight role. Neither appears

  to grant the expansive authority that OMB tried to exercise here, and the

  Government has not pointed to specific authority that allows it to unilaterally pull

  the plug on nearly all federal monetary flows under the IIJA and the IRA.

        Subsection (a)(5) further indicates that OMB’s role is mainly supervisory,

  rather than directly active. That subsection permits OMB to “monitor the financial

  execution of the budget in relation to actual expenditures.” Id. § 503(a)(5). The

  language falls well short of actively deciding whether agencies “must temporarily

  pause” all federal financial assistance. The Government cannot convincingly argue

  that “monitor” rises to that level of affirmative control described in M-25-11. See

  Monitor, The Oxford English Dictionary (2d ed. 1989) (defining “monitor” as “to

  observe, supervise, or keep under review”).11

        The scope of power that OMB and Director Hassett seek to claim is

  “breathtaking,” and its ramifications are massive: an indefinite pause of all money

  awarded under two of the largest spending statutes that Congress has passed in

  recent memory. See Ala. Ass’n of Realtors, 594 U.S. at 764. Because there is no clear




  11 The Government did not identify any statutory authority for the NEC Director to

  issue M-25-11, but elsewhere in its brief recognizes that its office was “not statutorily
  created” and its “sole function is to advise and assist the president.” (ECF No. 31
  at 17 n.2.) Given the NEC Director’s attempt to assert direct power over the Agencies
  here, a step far beyond advising or assisting the president, the major questions case
  against the NEC Director is even clearer.

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  statutory hook for this broad assertion of power, the Nonprofits are likely to succeed

  on the merits of this claim against OMB and Director Hassett.

               4.     Count III: “Contrary to law” claim

        Finally, the Nonprofits argue that the Government’s funding freeze was

  contrary to law, in violation of 5 U.S.C. § 706(2)(A). (ECF No. 26 at 25.) They argue

  that the funding freeze was contrary to the IRA and the IIJA, “to the statutes

  governing programs that are funded by the IRA and the IIJA, and to Defendants’ own

  regulations governing the administration of federal grants.” Id.

        But having found that the Nonprofits have shown a likelihood of success on

  two of their three claims, the Court declines to analyze the third claim for purposes

  of resolving this motion for preliminary relief. See Worthley, 652 F. Supp. 3d at 215.

        C.     Irreparable injury

        Likelihood of success on the merits is necessary but not sufficient for a

  preliminary injunction. Proof of irreparable harm “constitutes a necessary threshold

  showing,” too. Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151, 162

  (1st Cir. 2004). “The burden of demonstrating that a denial of interim relief is likely

  to cause irreparable harm rests squarely upon the movant.”         Id. “A finding of

  irreparable harm must be grounded on something more than conjecture, surmise, or

  a party’s unsubstantiated fears of what the future may have in store.” Id. It “most

  often exists where a party has no adequate remedy at law.” Id. Put differently, “the

  necessary concomitant of irreparable harm is the inadequacy of traditional legal

  remedies. The two are flip sides of the same coin: if money damages will fully




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  alleviate harm, then the harm cannot be said to be irreparable.” K-Mart Corp. v.

  Oriental Plaza, Inc., 875 F.2d 907, 914 (1st Cir. 1989). And the Court has “broad

  discretion to evaluate the irreparability of alleged harm and to make determinations

  regarding the propriety of injunctive relief.” Id.

        The Nonprofits offer five forms of irreparable harm: (1) reducing hiring, (2)

  furloughing and laying off staff, (3) shuttering planned projects, (4) curtailing or

  ending current projects, and (5) incalculable damage to the relationship between the

  Nonprofits and the communities they serve. (ECF No. 26 at 29–35.)

        The Government offers three responses. First, “even if the temporary pause

  might hypothetically result in a delay in Plaintiffs’ ability to perform certain work

  under the grant, Plaintiffs have not proven that it would undermine their grant work

  as a whole.” (ECF No. 31 at 56.) Second, the harms are “speculative” because the

  Government retains “the undisputed authority to terminate Plaintiffs’ grants under

  their own authorities.” Id. at 56–57. Finally, “even if Plaintiffs can claim some threat

  of harm, there is no reason why they cannot vindicate that threatened harm through

  individualized, specific lawsuits challenging particular funding denials.” Id. at 57.

        The Nonprofits have more than adequately demonstrated irreparable harm.

  Like the States in New York, the Nonprofits “laid out scores of examples of obligated

  funding and the harm that withholding such funding has caused.” New York, 2025

  WL 715621, at *13 (D.R.I. Mar. 6, 2025). The court’s analysis there is on-point and

  bears repeating:

        It is so obvious that it almost need not be stated that when money is obligated
        and therefore expected (particularly money that has been spent and



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        reimbursement is sought) and is not paid as promised, harm follows—debt is
        incurred, debt is unpaid . . . services stop, and budgets are upended. And when
        there is no end in sight to the Defendants’ funding freeze, that harm is
        amplified because those served by the expected but frozen funds have no idea
        when the promised monies will flow again.

  Id.

        A few examples show the myriad irreparable harms.12 First, “new obstacles,”

  like work stoppages arising from indefinite funding pauses, that “unquestionably

  make it more difficult” for the Nonprofits to “accomplish their primary mission[s]”

  are a form of irreparable harm. League of Women Voters of United States v. Newby,

  838 F.3d 1, 9 (D.C. Cir. 2016). One grantee’s testimony is illustrative: over 8,300

  hours of planning wasted on invasive management projects “that just won’t happen

  now,” another 10,000 hours of work for a Mississippi Park project down the drain,

  and the looming threat of terminating employees’ service terms. (ECF No. 26-10

  ¶¶ 6–10.) Or consider CLAP, whose work in fighting childhood lead exposure has

  been significantly disrupted. The challenges arising from the funding freeze “have

  resulted in a delay in the progress” that CLAP “reasonably expected to make towards

  improving lead hazard awareness, increasing local compliance with lead safety rules,

  and ultimately preventing childhood lead exposure during recent months.” (ECF

  No. 26-7 ¶ 28.) And even if CLAP’s access “to grant funding is fully restored today,

  as an organization and a community, we can never get this time back.” Id.



  12 The harms described above the line are only a sample. More examples are available

  in the record and the Nonprofits’ briefing. See, e.g., ECF No. 26-4 ¶ 11; ECF No. 26-
  10 ¶¶ 7–9; ECF No. 26-11 ¶¶ 14, 21; ECF No. 26-9 ¶¶ 17–18, 20; ECF No. 26-6 ¶¶ 15–
  18; ECF No. 26-5 ¶¶ 15, 17, 20; ECF No. 26-12 ¶¶ 7, 20–22; ECF No. 26-3 ¶¶ 12–13;
  ECF No. 26-13 ¶¶ 6, 11–12, 15.

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        The record also shows that the critical pauses in the Nonprofits’ work has

  caused issues for which “there can be no do over and no redress.” Newby, 838 F.3d

  at 9. One NCN members’ postponement of a planned project monitoring bark beetle

  attacks on vulnerable, “irreplaceable” giant sequoia trees will lead to environmental

  harms clearly not redressable in the long-run. (ECF No. 26-9 ¶ 7 (“We can’t afford to

  lose any more of these trees: every single one matters.”)).       And again, CLAP’s

  testimony shows how delays in its work leave no window for a do-over. “Childhood

  lead exposure can cause permanent damage in a single-day, and only gets worse the

  longer it continues.”   (ECF No. 26-7 ¶ 24.)     But because of the freeze and the

  subsequent effects on CLAP’s ability to work with community partners, “lead-safe

  repairs on local homes” in Providence will likely be “delayed.” Id. ¶ 26.

        Finally, the Nonprofits’ standing in the communities that they serve has

  suffered. By “its very nature injury to goodwill and reputation is not easily measured

  or fully compensable in damages,” so this “kind of harm is often held to be

  irreparable.” Ross-Simons of Warwick, Inc., v. Baccarat, Inc., 102 F.3d 12, 20 (1st

  Cir. 1996); see also HIAS, Inc. v. Trump, 985 F.3d 309, 326 (4th Cir. 2021) (finding a

  “significant and irreparable” injury where, even if an organization’s affiliates

  survived, “the community connections they have developed are likely to erode”); see

  also K-Mart Corp., 875 F.2d at 915 (noting that “harm to goodwill, like harm to

  reputation,” is not readily measurable and thus likely to be found irreparable).

        The uncertainty surrounding the pause has caused these harms. For example,

  GIC’s work helping Choctaw Indians in Mississippi with their forests has been




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  disturbed. ECF No. 26-5 ¶ 22 (“We had multiple meetings with the tribe and tribal

  council in the process of getting an agreement drafted to show we were serious and

  would be helping with them in coming years to manage their forest. And now we

  can’t follow through. If you think about America’s history with the tribes—it was

  hard to overcome.    And then at the eleventh hour, we disappear.        That whole

  relationship and the trust we built won’t recover if this continues.”). Other similar

  examples are clear from the record. See, e.g., ECF No. 26-6 ¶¶ 14–16.

        On the other side of the ledger, the Government’s arguments against

  irreparable harm are unconvincing. The Nonprofits have shown how the pauses

  undermine their grant work “as a whole,” mainly because of the wasted hours of labor

  and planning, the impending loss of staff, and the harms that the pauses have done

  to the Nonprofits’ relationship with their communities. As for the Government’s

  other arguments, the Court need not delve into whether and how the Government

  retains the authority to end the termination agreements, because that question is not

  before it. But conducting an individualized termination under federal regulations is

  worlds away from the sudden, indefinite, across-the-board, and likely unlawful

  freezes that happened here.

        And again, the U.S. Supreme Court’s reasoning in its recent California stay

  order is not to the contrary. In staying the TRO, the majority relied on the fact that

  the state challengers “represented in this litigation that they have the financial

  wherewithal to keep their programs running” without the terminated federal grants.

  California, 145 S.Ct. at 969.




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           Here, the opposite is true. The Nonprofits have represented that they largely

  lack “the financial wherewithal to keep their programs running” without the grants.

  (ECF No. 38 at 2–3.) One grantee member of the NCN made clear that if funding

  “from the IRA and BIL gets held up, the consequences” for it “could be devastating,”

  because federal funds make up more than one-third of their 2025 budget and more

  than 90% of their regional partnership’s funding. (ECF No. 26-6 ¶ 17.) Without the

  funding, the group “would have to let go of most of our shared staff and cancel

  contracts with local businesses.” Id. Another, writing in mid-March, stated that they

  were “in a crisis,” because they were “45 days away from having to lay off staff at this

  point,” and the “only reason it’s not sooner is thanks to what little reserve we have

  and the fact that Rhode Island and South Carolina have continued to pay us for work,

  even while they themselves still can’t draw on their federal grants.” (ECF No. 26-5

  ¶ 18.)

           So the Nonprofits have adequately demonstrated irreparable harm arising

  from the Government’s actions here.

           D.    Balance of the equities and the public interest

           As with irreparable harm, the balance of the equities and the public interest

  weigh heavily in favor of injunctive relief. The Nonprofits were left adrift as they

  scrambled to make sense of the Government’s actions here. The pause placed critical

  climate, housing, and infrastructure projects in serious jeopardy, while also

  threatening the livelihoods of the Nonprofits’ employees as well as their fundamental

  missions. See supra, Part III.C.




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        The Government is not harmed where an order requires them to disburse funds

  that Congress has appropriated and that Agencies have already awarded.            The

  Court’s order does not prevent the Government from making funding decisions in

  specific cases according to processes like those established in 2 C.F.R. § 200.340; it

  simply enjoins sweeping agency action that was likely arbitrary and capricious and

  in excess of statutory authority. And an agency is not harmed by an order prohibiting

  it from violating the law.

        On the other hand, without injunctive relief to pause the categorical freeze of

  IIJA and IRA funds, the funding that the Nonprofits are owed (based on the Agencies’

  own past commitments) creates an indefinite limbo. While some funding has begun

  to flow, the Nonprofits continue to face substantial uncertainty about whether the

  Government will comply with federal law. The public interest lies in maintaining the

  status quo and enjoining any categorical funding freeze.

        E.     Bond

        Federal Rule of Civil Procedure 65(c) states that the court may issue a TRO or

  preliminary injunction “only if the movant gives security in an amount that the court

  considers proper to pay the costs and damages sustained by any party found to have

  been wrongfully enjoined or restrained.” The Government asks the Court to require

  the Nonprofits to “provide as security a bond commensurate with the dollar value of

  grant funds required to be released by any preliminary injunction the Court may

  enter.” (ECF No. 31 at 63–64.) The Court declines.




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        Rule 65(c) “has been read to vest broad discretion in the district court to

  determine the appropriate amount of an injunction bond,” DSE, Inc. v. United States,

  169 F.3d 21, 33 (D.C. Cir. 1999), “including the discretion to require no bond at all,”

  P.J.E.S. ex rel. Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020)

  (internal quotation omitted). A bond “is not necessary where requiring [one] would

  have the effect of denying the plaintiffs their right to judicial review of administrative

  action.” Nat. Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971)

  (collecting cases); cf. Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump,

  No. 25-CV-333, 2025 WL 573764, at *30 (D. Md. Feb. 21, 2025) (setting a nominal

  bond of zero dollars because granting the defendants’ request “would essentially

  forestall [the] [p]laintiffs’ access to judicial review”). In a case where the Government

  is alleged to have unlawfully withheld large sums of previously committed funds to

  numerous recipients, it would defy logic—and contravene the very basis of this

  opinion—to hold the Nonprofits hostage for the resulting harm.

        F.     Scope of the remedy

        Having decided that the Nonprofits have made the requisite showing under

  the four-factor test for a preliminary injunction, the Court must next decide the

  injunction’s scope. The Nonprofits argue that this is a case where a nationwide

  injunction is “not only appropriate, but necessary,” for three reasons. (ECF No. 26

  at 37.) First, the relief could not so easily be limited to the Nonprofits here, and it

  would require more work for the Government “to somehow identify which funding

  streams were going to NCN members.” Id. Second, there are similarly situated




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  nonparties harmed just like the Nonprofits here. Id. at 38. Third, the nature of this

  case, a successful APA challenge, favors broad relief: vacatur of the rule and its

  applicability to all who would have been subject to it. Id.

         The Government responds first that there is “no basis” for extending relief to

  nonparties or funding streams “for which Plaintiffs have not shown harm.” (ECF

  No. 31 at 59.) Second, it posits that 7 U.S.C. § 705 does not require the broad remedy

  that the Nonprofits seek, in large part because it only requires the Court to “postpone

  the effective date of an agency action,” and that cannot be done here because the

  agency action has happened. Id. at 60–61. Third, the order should be narrow to

  mitigate “the significant harms it would cause to Defendants and to the Executive

  Branch’s abilities to exercise their lawful statutory authority and discretion.” Id.

  at 61–62.

         While federal district courts have issued nationwide or “universal” injunctions

  and they have been acknowledged by the Circuit courts, the Supreme Court has not

  directly addressed the issue despite concerns expressed by some justices over their

  use.   See Trump v. Hawaii, 585 U.S. 667, 713 (2018) (Thomas, J., concurring)

  (expressing skepticism); Dep’t. of Homeland Sec. v. New York, 140 S. Ct. 599, 600

  (2020) (Gorsuch, J., concurring).

         But there are appropriate circumstances during which nationwide injunctions

  are not only appropriate, but necessary. Florida v. Dep’t of Health & Hum. Servs.,

  19 F.4th 1271, 1281–82 (11th Cir. 2021). Those include the need “to protect similarly

  situated nonparties,” to “avoid the ‘chaos and confusion’ of a patchwork of




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  injunctions,” or “where the plaintiffs are dispersed throughout the United States.”

  Id. (cleaned up). To this end, in drafting equitable relief, courts must consider “what

  is necessary, what is fair, and what is workable.” North Carolina v. Covington, 581

  U.S. 486, 488 (2017).

        After finding that the Government’s sweeping actions were likely unlawful, the

  Court cannot see why similarly situated nonparties should remain subject to them.

  See Massachusetts, 2025 WL 702163, at *33 (D. Mass. Mar. 5, 2025). Nonparties in

  exactly the same circumstances should not be forced to suffer the harms just because

  there was not enough time or resources for them to join the suit. “[N]ationwide

  injunctions provide a mechanism for courts to protect all those who could be harmed

  by a federal policy when only a few have the ability to quickly bring their case before

  a court.” Amanda Frost, In Defense of Nationwide Injunctions, 93 N.Y.U. L. Rev.

  1065, 1094–95 (2018) (“Nationwide injunctions are at times the only way to prevent

  irreparable injury to individuals who cannot easily or quickly join in litigation.”).

  After all, as the Supreme Court has explained, “one of the ‘principles of equity

  jurisprudence’ is that ‘the scope of injunctive relief is dictated by the extent of the

  violation established, not by the geographical extent of the plaintiff class.’” Rodgers

  v. Bryant, 942 F.3d 451, 458 (8th Cir. 2019) (quoting Califano v. Yamasaki, 442 U.S.

  682, 702 (1979)).

        Moreover, the nature of the action itself supports a nationwide injunction. The

  normal remedy for a successful APA challenge is vacatur of the rule and its

  applicability to all who would have been subject to it. Victim Rts. L. Ctr. v. Cardona,




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  20-CV-11104-WGY, 2021 WL 3516475, at *1 (D. Mass. Aug. 10, 2021) (citing 5 U.S.C.

  § 706(2)(A) (“The reviewing court shall hold unlawful and set aside agency action ...

  found to be ... arbitrary [and] capricious ....”)); William Baude et al., The Federal

  Courts and the Federal System 1354 (8th ed. 2025) (describing how the APA’s

  providing “for the vacatur of federal agency action may confer” a power analogous to

  universal injunction “by statute”); see also Gailius v. INS, 147 F.3d 34, 47 (1st Cir.

  1998) (finding that vacation and remand is appropriate when an agency has failed to

  give adequate explanation for its conclusions); Nw. Env’t Advocs. v. EPA, 537 F.3d

  1006, 1026 (9th Cir. 2008) (“We affirm the district court’s decision to vacate the

  regulation and to remand for further proceedings as a valid exercise of its remedial

  powers.”); Lovely v. FEC, 307 F. Supp. 2d 294, 301 (D. Mass. 2004) (“[V]acation is a

  proper remedy when an agency fails to explain its reasoning adequately.”

  (quoting Harrington v. Chao, 280 F.3d 50, 60 (1st Cir. 2002) (cleaned up)).

        Put differently, it would be anathema to reasonable jurisprudence that only

  the named Nonprofits should be protected from the irreparable harms of the likely

  unlawful agency actions. That is because “when a reviewing court determines that

  agency regulations are unlawful, the ordinary result is that the rules are vacated—

  not that their application to the individual petitioners is proscribed.” Nat’l Min. Ass’n

  v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (cleaned up). So

  considering the likelihood of success on the merits as to these APA claims, the nature

  of this case favors a nationwide injunction.




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                                     IV.    ORDER

        Upon consideration of the Nonprofits’ Motion for a Preliminary Injunction

  (ECF No. 26), it is hereby:

        1. ORDERED that the Nonprofits’ Motion for a Preliminary Injunction (ECF

            No. 26) is GRANTED; it is further

        2. ORDERED that Defendants Energy, EPA, HUD, Interior, and USDA are

            ENJOINED from freezing, halting, or pausing on a non-individualized

            basis the processing and payment of funding that (1) was appropriated

            under the Inflation Reduction Act or the Infrastructure Investment and

            Jobs Act and (2) has already been awarded; it is further

        3. ORDERED that Defendants Energy, EPA, HUD, Interior, and USDA take

            immediate steps to resume the processing, disbursement, and payment of

            already-awarded funding appropriated under the Inflation Reduction Act

            or the Infrastructure Investment and Jobs Act, and to release awarded

            funds previously withheld or rendered inaccessible; it is further

        4. ORDERED that Defendants OMB and NEC Director Hassett provide

            written notice of the Court’s preliminary injunction to all agencies to which

            Memorandum M-25-11 was addressed. The written notice shall instruct

            those agencies that they may not take any steps to implement, give effect

            to, or reinstate under a different name the unilateral, non-individualized

            directives in Memorandum M-25-11 with respect to the disbursement of all

            open awards under the Inflation Reduction Act or the Infrastructure




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          Investment and Jobs Act. It shall also instruct those agencies to continue

          releasing any disbursements on open awards that were paused due to or in

          reliance on Memorandum M-25-11; it is further

       5. ORDERED that Defendants Energy, EPA, HUD, Interior, and USDA

          provide written notice of the Court’s preliminary injunction to all grantees

          who have been awarded funds under the Inflation Reduction Act or the

          Infrastructure Investment and Jobs Act; it is further

       6. ORDERED that all Defendants are ENJOINED from implementing, giving

          effect to, or reinstating under a different name the directive in

          Memorandum M-25-11 to unilaterally freeze awarded funding appropriated

          under the Inflation Reduction Act or the Infrastructure Investment and

          Jobs Act; it is further

       7. ORDERED that this Order shall apply to the maximum extent provided for

          by Federal Rule of Civil Procedure 65(d)(2) and 5 U.S.C. §§ 705 and 706; it

          is further

       8. ORDERED that all Defendants shall file a status report on or before April

          16, 2025, at 5:00 p.m. EST, apprising the Court of the status of their

          compliance with this Order and providing a copy of all directives that

          Defendants provided pursuant to this Order.




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  IT IS SO ORDERED.



  _________________________________

  Mary S. McElroy
  United States District Judge
  April 15, 2025




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